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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA : Hon. JOSEPH E, IRENAS
Vv. : Crim, No. 03-655 (JET)
JAMES MULHEARN, dr. : BAIL DIFICATION ORDER

This matter having come before the Court upon the application of
Christopher J. Christie, United States Attorney for the District of
New Jersey (by Marec-Philip Ferzan, Assistant U.S. Attorney, appearing)
in conjunction with the Pretrial Services Agency, and defendant James
Mulhearn, Jr. (Michael Riley, Esgq., appearing) not opposing such
application, for an order modifying the conditions of release set by
this Court on September 16, 2004, by adding as a condition home
confinement with electronic monitoring (at the address: 8500 NW 18™
Place, Coral Springs, Florida 33071) pending the defendant's reporting
to the Bureau of Prisons to serve his sentence in connection with the
instant case; and for the defendant to pay the costs of the electronic
monitoring, and for the defendant to be permitted to leave home during
the pericd of home confinement only for emergency medical care or with
the advance consent of the Pretrial Services Agency, and for all other
conditions of release to remain in full force and effect;

WHEREFORE, IT IS on this 14> day of April, 2008,

ORDERED that the application to modify the conditions of release

set by this Court on September 16, 2004 is granted;

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TT IS FURTHER ORDERED that the defendant shall be subject to
home detention with electronic monitoring (at the address: 8500
NW 18t° Place, Coral Springs, Florida 33071) pending his
reporting to the Bureau of Prisons to serve his sentence in
connection with the instant case;

IT 18 FURTHER ORDERED that the defendant shall pay the costs
of the electronic monitoring;

TT IS FURTHER ORDERED that the defendant shall be permitted
to leave home during the period of home confinement only for
emergency medical care or with the advance consent of the
Pretrial Services Agency; and

IT IS FURTHER ORDERED that all other conditions of

release shall remain in full foree and effect.

ph SY

JOSEPH E. IRENAS
TED STATES DISTRICT JUDGE

